Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 1 of 25

_ Exhibit 9
Case 1:07-cv-11387-DLC-DCF Document 233-

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 3 of 25

CORAL HOUSE LTD.
Buckingham Squate, 3rd Floor
720 West Bay Road, P.O. Box 30691SMB

Grand Cayman, Cayman Islands

28 October 2003

_Ms. Devi Johal
LOM Securities (Bahamas) Limited

Millenium House

‘East Mall Drive

Freeport, G.B.
Bahamas

Dear Ms. Johal

Re: Change of Name

Please be advised that with effect from 15 August 2003 the Company changed its name
from Nomad Trading Ltd. to Coral House Ltd. Please find attached a copy of the

Certificate of Incorporation on Change of Name for your records.

- Yours very truly

For CORAL HOUSE LTD.

A

Brott Limited \_)
Director

 

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Pursuant to Section oa
SEC staff hidst Cod? (&efore providing this document to criminal authéntiés!) 295-5491

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 4 of 25

_ | LINES OVERSEAS MANAGEMENT (BAHAMAS) LIMITED

 

 

    

-A. ACCOUNT DETAILS a
HOME PHONE OFFICE PHONE | FAX NUMBER
441~295-1820 | 441-295-5491

 

EMAIL. AODRESS

     

 

ACCOUNT / CUSTOMER NAME
Nomad Trading Ltd.

 

 

 

 

 

     

| PRIMARY ADDRESS >
Buckingham Square, Penthouse, Seven Mile Beach, West Bay Read

STATE / PROVINCE / COUNTY | COUNTRY | POST CODE

Grnad Cayman Cayman Islands

CURRENCY BASE US$ “ACCOUNT TYPE: INDIVIDUAL; JOINT, CORPORATE) LOW AGGOUNT ASVISOR

i Corporate ‘Brian Lines

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ALTERNATE ADDRESS

ADDRESS

27 Reid Street, Ast Floor P.O.Box HM3051
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Hamilton

 

MAIL TO PRIMARY ADDRESS

ix MAIL TO ALTERNATE ADDRESS

 

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1. USER NAME AND PASSWORD SHOULD CONTAIN NO SPACES, MAY CONTAIN LETTERS AND/OR NUMBERS, AND ARE BOTH CASE SENSITIVE.
2. EVERY ACCOUNT REQUIRES A UNIQUE USER NAME WHICH MUST BE BETWEEN 6 AND 15 CHARACTERS

3. PASSWORD MUST BE BETWEEN BAND 15 CHARACTERS, AND MUST CONTAIN A MIX OF LETTERS AND NUMBERS - AT LEAST TWO OF EACH.
4. PLEASE PROVIDE AN EMAIL ADDRESS IN THE ACCOUNT DETAILS ABOVE.

REQUESTED USER NAME:

 

PASSWORD: ; . .

   

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: . LOM INVESTMENT ACCOUNT APPLICATION AND AGREEMENT JULY 2067. PAGE 1 OFT

 

 

 

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 6 of 25

yo _ LINES OVERSEAS MANAGEMENT (BAHAMAS) LIMITED

 

 

 

 

 

 

 

TYPE OF ACCOUNT: ["] casH k | MARGIN
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ACCOUNT AUTHORIZED TO PURCHASE RESTRICTED SECURITIES? x | Yes {|_| No
"ARE YOU A SOPHISTICATED INVESTOR? ix | YES [] wo
:F, CORPORATE ACCOUNT DUE DILIGENCE:
COMPANY FULL NAME 4.
Nomad Trading Ltd.
PRIMARY ADDRESS / REGISTERED OFFICE — ;
Buckingham Square, Peotloscuse, Sovun “ile Beach,

STATE / PROVINCE / COUNTY GéuntRy post cope

Grand Cayman ‘Cayman Islands .
COUNTRY OF INCORPORATION DATE OF INCORFORATION | NATURE OF COMPANY'S BUSINESS
Cayman Islands B.W.I. 27th Oct. 1999 InvestmentHoldings Co.

 

PLEASE PROVIDE THE FOLLOWING INFORMATION FOR ALL SHAREHOLDERS OR BENEFICIAL OWNERS OF THE COMPANY WITH A 10% OR GREATER
INTEREST. iF THE OWNER OF THE COMPANY [IS A CORPORATION, PLEASE ALSO INCLUDE DETAILS ON ALL SHAREHOLDERS OR BENEFICIAL OWNERS OF

THE UNDERLYING CORPORATION. (ATTACH ADOITIONAL SHEETS IF NECESSAFY)

 

     

 

 

 

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FULL NAME(S) _— — ~ DAE OF BIRTH
oo (see LOM Cayman file) :

PRIMARY | HOME ‘ADDRESS _

STATE / PROVINCE / COUNTY . CRSA : poSsy CODE

 

 

OCCUPATION, POSITION, LENGTH OF EMPLOYMENT | ORSCRIBE THE PRIMARY SOURCE OF FUNDS

 

EMPLOYERS NAME AND ADDRESS

PLEASE ENSURE THAT DOCUMENTS REQUESTED ON PAGE ONE INCLUDE: FULL. RAME, DATE AND PLACE OF EXECUTION OF THE TRUST, ANDA
COMPLETE LIST OF THE TRUSTEES.

ee

 

CIRCUMSTANCES, { HAVE RECEIVED AND READ THE ATTACHED ‘LGM INVESTMENT ACCOUNT ..CREEISEXT - TERME: AND CONUITIONS', DATED JULY 2C0%, ARO UNDERSTAND ANO AGREE TO ALL TERMS WITHIN,
INCLUDING (IF APPLICAGLE) RISK DISCLOSURES RELATING TO MARGIN ACCOUNTS, DERIVATIVES, CHLIME ACCESS AND MESTRICTED SECURITIES. THIS AGREEMENT IS SUBJECT TO THE LAWS OF THE BAHAMAS.

S02 COAL awade Pru
SIGNATURE OF CUSTOMER OR SIGNATORY
Brett Limited~Director

 

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LOM INVESTMENT ACCOUNT APPLICATION ANO AGREEMENT JULY 2001, PAGE 3 OF 7

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 7 of 25

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v

NOMAD TRADING LTD.
Buckingham Square, Penthouse, Seven Mile Beach, West Bay Road,
Grand Cayman, Cayman Islands BVI

_ We, CAMBER LIMITED, Secretary of NOMAD TRADING LTD., DO HEREBY
CERTIFY that the following is a true and correct copy of resolutions adopted by the sole

Director of the Company by written resolution on 2"4 October, 2002 and that such

. _ resolutions are still in full force and effect as at the date hereof:

“RESOLVED that the Company open an invesiinent acccunit with LOM”

Securities (Bahamas) Limited and that Broti Lixcited, the sole director of
the Company, be and is hereby authorised to execute any and all
documentation necessary to open said account.

FURTHER RESOLVED that the authorised signatory on the account be
and is Mr. James Curtis signing singly.

FURTHER RESOLVED that any two signatories of Brott Limited, the sole
Director of the Company, be end ave hereby authorised and empowered to
sell, assign and transfer all or any sheres, boris, dobentesss or debenture
stock of incorporated companies registered ia the: name cf this Company,
and to make, execute and sign all necessary acts of assignment aud transfer
of said shares of stock, debentures, bords or othe: securities which may be
necessary for that purpose and to appoint in their place and stead an
attorney or attorneys and agree to ratify and confirm all whatsoever said
attorney or his substitute may lawfully do or cause to be dene by virtue

hereof.”

Camber Limited
Secretary
Nomad Trading Ltd.

Q ‘Dated: 8" Cobber, ZO

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 9 of 25

EINCUMBENCY CERTIFICATE

| We, Camber Limited, Secretary of BROTT LIMITED (the “Company”), of
Buckingham Square, Penthouse, Seven Mile Beach, West Bay Road, Grand Cayman,

Cayman Islands, DO HEREBY CERTIFY that the following is a true and correct listing
of the Directors, Officers and Authorised Signatories of the Cornpany in full force and

effect as at the date hereof:

DIRECTORS

Fortstreet Nominees Limited

OFFICERS

Camber Limited — Secretary

AUTHORISED SIGNATORIES

Micheile Bodden
John Swain
Janice Duffy
Kevin Gunther
James Kidd
Cilme Lamb
Mary Wachuka

Camber Limited

Secretary
BROTT LIMITED

Dated: 23™ October, 2002

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: Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 10 of 25

INCUMBENCY CERTIFICATE

We, Camber Limited, Secretary of NOMAD TRADING LTD., Buckingham Square,
: Buckingham Square, Penthouse, West Bay Road, Seven Mile Beach, Grand Cayman,
- Cayman Islands, BWI, DO HEREBY CERTIFY that the following is a true and correct
listing of the Directors and Officers of the Company in full force and effect as at the date

hereof:

DIRECTOR
Brott Limited
OFFICER

' Camber Limited - Secretary

at

Camber Lirnited

Secretary
Nomad Trading Ltd.

 

Dated: =7 3” October, odXX02.

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 11 of 25

NOMAD TRADING LTD.
Buckingham Square, Penthouse, Seven Mile Beach,
West Bay Road, Grand Cayman,

Cayman Islands BWI

We, Camber Limited, Secretary of NOMAD TRADING LTD. (the “Company’), DO
HEREBY CERTIFY that attached hereto is a true and correct cuny of the Certificate of
Incorporation of the Company and that said Certificate is in full force and effect as at the

- date hereof.

aL

Camber Limited
Secretary
Nomad Trading Lid.

Dated: 23™ October, 2002

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Pursuant to Section 24(d) .

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 12 of 25

 

 

 

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Tel; (945) 846-6a08, Fax: (348) 949-1538

Lines Overseas Management (Cayman) Limited
3" floor, Buckingham Square

West Bay Rd, SMB

Grand Cayran, Cayman Islands

Jamas Curtis

2050 W 36" Avenue
Vancouver, BC
Canada, V6M 1K9

We are a requiated institution/foreian requlated Institution as defined in
Bermuda’s Proceeds of Crime (Money Laundasing) Reculacions 1998 and we

are providing this introduction in secordance with the Guidance Notes issued

by Bermucia’s National Anti-Vioney Laundering Committee.

(Please tick box Al or A2 AND box B1 or B2. Alternatively, tick (C)

 

 

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LOM Buckinghem Square, West Bay Road, SMB « RO. Box 4159 GT, Grand Caymen, Cayman Islands

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 15 of 25

 

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) The applicant for business Is applying on his own behalf and not as.

nominee, trustee or in a fiduciary capacity for any other person,

B | The applicant for business Is acting as nominee, trustee or In a-
fiduciary capacity for other persons whose identity has been
established by us and appropriate documentary evidence to support
the Identification is held by us and can be produced on demand.

Alternatively

We have not completed verificatlon of the applicant for business for

the following reason:

The above information is given in strictest confidence for your own use only and without
the guarantee, responsibility or Liability on the part ofthis institution or bis officials,

C5 a bow Om ep

Craig Lines
General Manager

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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 16 of 25
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Case 1:07-cv-11387-DLC-DCF Document 233-10 Filed 01/14/11 Page 17 of 25

INCUMBENCY CERTIFICATE

We, Camber Limited, Secretary of BROTT I. iMITED. (the “Company"), of
Buckingham Square, Penthouse, Seven Mile Beach, West Bay Road, Grand Cayuian,
Cayman Islands, DO HEREBY CERTIFY that the following is a true and correct listing
of the Directors, Officers and Authorised Signatories of the Company in full force and
effect as at the date hereof’

DIRECTORS
Foristreat Nurtinges Limited

OFFICERS
Camber Limited - Secretary

AUTHORISED SIGNATORIES

Michelle R. Bodden
John D. Swain
Janice C. Duffy
Kevin E. Gunther
James D. Kidd
Cilma A. Lamb
Mary Wachuka
Donna A. Trott

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BROTT LIMITER

~ Dated: 4"" April, 2003

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